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                         UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF SOUTH CAROLINA

       IN RE:
                                                           C/A No. 18-05693-HB

       Melissa Arletta Hogan,                                    Chapter 13

                                      Debtor(s).                  ORDER

             TAKE NOTICE that on April 20, 2020, the United States Trustee filed a Statement

   Regarding Upright’s Discovery Responses.1 Any response to the pleading by Deighan

   Law LLC, f/k/a Law Solutions Chicago LLC, and doing business in South Carolina as

   Upright Law must be filed with the Court and served on the UST by May 8, 2020. The

   Court may schedule a hearing on this matter only if necessary after a review of the filed

   pleadings.

             AND IT IS SO ORDERED.

 FILED BY THE COURT
     04/22/2020




                                                   Chief US Bankruptcy Judge
                                                   District of South Carolina



  Entered: 04/22/2020




   1
       ECF No. 164.
